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                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF MICHIGAN


In re CASSAVA SCIENCES, INC.       )   Misc. Case No. 2:24-mc-51329-MAG-
SECURITIES LITIGATION              )   DRG
                                   )
                                   )   Honorable Mark A. Goldsmith
This Document Relates To:          )
                                       Originating No. 1:21-cv-00751-DAE (W.D.
                                   )
         ALL ACTIONS.                  Tex.)
                                   )
                                       CLASS ACTION

                                       PLAINTIFFS’ REPLY IN FURTHER
                                       SUPPORT OF MOTION TO COMPEL
                                       THE PRODUCTION OF DOCUMENTS
                                       FROM NON-PARTY DR. HOAU-YAN
                                       WANG




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         Plaintiffs in the underlying litigation pending in the United States District Court for

the Western District of Texas submit the following reply in support of their motion to

compel non-party Dr. Hoau-Yan Wang to produce documents (ECF 1) (“Motion”).1

I.       THE ACT OF PRODUCTION PRIVILEGE DOES NOT APPLY

         Dr. Wang failed to satisfy his burden of establishing the Fifth Amendment act of

production privilege applies. As Butcher v. Bailey, 753 F.2d 465 (6th Cir. 1985), makes

clear, “[p]roduction of documents is not considered testimonial” if the existence of the

documents, the control of the documents by the person subpoenaed, and the authenticity of

the documents “is a ‘foregone conclusion.’” Id. at 469 (quoting Fisher v. United States,

425 U.S. 391, 411 (1976)). Expounding on the Supreme Court’s decision in Fisher, the

Sixth Circuit wrote:

         In Fisher, for example, a taxpayer was requested to turn over his
         accountant’s workpapers. The Court determined that such production was
         not testimonial because the existence and location of the documents were
         already known, and the taxpayer’s production of his accountant’s papers
         would not be authentication sufficient to admit the documents as evidence.

Id.

         Here, Dr. Wang does not dispute that the Deposition Materials exist and that he

controls them. See ECF 5 at PageID.261. His counsel admitted as much by advising

Plaintiffs that she obtained Dr. Wang’s deposition transcripts from the SEC and would


1
 All capitalized terms not defined herein shall have the same meanings as in the Motion.
“Ex.” references are to exhibits to Kevin A. Lavelle’s reply declaration, filed herewith.
Unless otherwise noted, all emphasis is added and citations are omitted.

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produce them to Plaintiffs. ECF 1-2 at PageID.123. Thus, Plaintiffs can demonstrate with

reasonable particularity the existence and location of the documents.

         Dr. Wang’s sole ground for invoking the act of production privilege is that

producing the transcripts “could serve to authenticate them.” ECF 5 at PageID.261. Dr.

Wang is incorrect. Where a court reporter confirms “that [the deponent] was ‘duly sworn

. . .,’ that the testimony was ‘stenographically recorded . . . and afterwards transcribed . . .,’

and that the transcript is a ‘full, true and correct transcript of the testimony given by the

witness,’ . . . the authenticity of the deposition transcript is simply not an issue.” Arucan v.

Cambridge E. Healthcare/Sava SeniorCare LLC, 347 F. Supp. 3d 318, 345 (E.D. Mich.

2018), aff’d, 763 F. App’x 413 (6th Cir. 2019); see also Weisblat v. John Carroll Univ.,

2024 WL 4172597, at *6 (N.D. Ohio Sept. 12, 2024) (“The deposition offered includes a

cover sheet, identifies the deponent, and includes the court reporter’s certificate; therefore,

it is properly authenticated.”). Thus, the authenticity of Dr. Wang’s deposition transcripts

will be established independently by an attestation of the court reporter who transcribed the

deposition – not by Dr. Wang’s production of the transcripts.

         An analysis of the May 14 Email compels the same conclusion. Cassava and the

SEC publicly disclosed that Dr. Wang received the May 14 Email from Dr. Burns.

Because the existence and location of the May 14 Email is already known, production of

the May 14 Email is not testimonial. Notably, Dr. Wang does not contend otherwise. Nor

would production of the May 14 Email be authentication sufficient to admit the documents


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as evidence at trial. The Court in United States v. Pancholi, 2023 WL 5706197 (E.D.

Mich. Sept. 5, 2023), analyzed the various ways in which an email may be authenticated

under Federal Rule of Evidence 901:

         A number of courts, however, have suggested the key factor in the Rule
         901(b) list when it comes to email authentication is Rule 901(b)(4). That
         provision explains that records may be authenticated by the introduction of
         testimony regarding their unique characteristics: i.e., the “appearance,
         contents, substance, internal patterns, or other distinctive characteristics of
         the item, taken together with all the circumstances.” Fed. R. Evid. 901(b)(4).

2023 WL 5706197, at * 2. Absent from the Pancholi Court’s list of ways to authenticate

an email was production by a recipient of the email. See id.2

         Here, the May 14 Email may be authenticated by Dr. Burns – who authored the May

14 Email and is a defendant in the underlying securities fraud action. See United States v.

Koubriti, 297 F. Supp. 2d 955, 970-71 (E.D. Mich. 2004) (“[E]ven when compelled

production might be incriminating and, as such call for application of the Fifth Amendment

privilege, the Government’s ability to authenticate the documents by other means negates

the claim of privilege.”). Plaintiffs’ ability to authenticate the May 14 Email “by other

means negates the claim of privilege.” Id.

         Even if the act of production privilege somehow applied – and it does not – Dr.

Wang waived it by: (i) failing to assert it in a timely manner; and (ii) disclosing the location


2
  Dr. Wang’s case, United States v. Doe, 465 U.S. 605 (1984), does not hold otherwise and
involved facts that are not present here. See id. at 613 (declining to overturn factual
findings that there was a testimonial aspect to production where the respondent did not
admit to the existence or location of the subpoenaed documents).

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and existence of the Withheld Documents. See, e.g., Bayview Loan Servicing, LLC v.

McNaughton, 2007 WL 2433996, at *1 (W.D. Mich. Aug. 22, 2007) (holding that litigant

waived act of production privilege where “[a]t no time did defendants’ counsel indicate

that records would not be produced . . . based on a Fifth Amendment claim” until a last

minute change of heart).

         Dr. Wang claims that he can only waive his Fifth Amendment rights “‘in the same

proceeding in which a party desires to compel the witness to testify.’” ECF 5 at

PageID.263 (original emphasis omitted). This argument does not absolve Dr. Wang. The

conduct constituting the waiver did not occur in another action. Rather, Dr. Wang waived

his Fifth Amendment privilege in this action by: (i) disclosing the existence and location of

the Withheld Documents to Plaintiffs; and (ii) failing to timely assert the privilege. See

ECF 1 at PageID.25-27. Accordingly, Dr. Wang waived his Fifth Amendment rights in the

same proceeding in which Plaintiffs seek to compel Dr. Wang to produce documents.

II.      DR. WANG’S PROCEDURAL OBJECTION IS WAIVED

         Dr. Wang’s counsel accepted service of the subpoena, which set the place of

compliance in Michigan, where Dr. Wang’s counsel is located. In the 18 months after

Plaintiffs served the subpoena, Dr. Wang never objected to the place for compliance when:

(i) responding to the subpoena; (ii) producing documents; or (iii) during the lengthy meet

and confer process. See ECF 1 at PageID.18-21; ECF 1-2 at PageID.201-299. It was not

until November 25, 2024 – a week after Plaintiffs filed their Motion – that Dr. Wang


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asserted for the first time that the subpoena violated Federal Rule of Civil Procedure

45(c)(2)(A)’s 100-mile rule. See Ex. 11. This objection is untimely and waived. See

Olivia Marie, Inc. v. Travelers Cas. Ins. Co. of Am., 2011 WL 6739400, at *2 (E.D. Mich.

Dec. 22, 2011) (“A nonparty’s failure to timely object to the subpoena generally waives

any objections.”); Siser N. Am., Inc. v. Herika G. Inc., 325 F.R.D. 200, 210 (E.D. Mich.

2018) (“‘As a general rule, failure to object to discovery requests within the thirty days

provided by Rules 33 and 34 constitutes a waiver of any objection.’”); Kuriakose v.

Veterans Affs. Ann Arbor Healthcare Sys., 2016 WL 4662431, at *2 (E.D. Mich. Sept. 7,

2016) (same); accord Sterling Merch., Inc. v. Nestle, S.A., 470 F. Supp. 2d 77, 85 (D.P.R.

2006) (a motion to quash is untimely if not filed within 14 days following the service of the

subpoena or within the time provided to comply with the subpoena).

         Dr. Wang pretends that his indictment somehow changes the analysis. He is wrong.

The United States indicted Dr. Wang more than five months ago – on June 27, 2024.

Thereafter, Dr. Wang: (i) engaged in a lengthy meet and confer with Plaintiffs over various

responsive discovery; (ii) requested the deposition transcripts from the SEC; (iii) agreed to

provide the SEC deposition transcripts to Plaintiffs “this week”; and (iv) agreed to provide

a privilege log for any documents withheld on a claim of privilege. See ECF 1-2 at

PageID.112-139. It was not until after Plaintiffs filed their Motion – many months after

Dr. Wang was indicted – did Dr. Wang raise an objection to the place of compliance. But

courts routinely deem untimely a failure to object to the place of compliance until after a


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motion to compel is filed. See Copeland v. C.A.A.I.R., Inc., 2024 WL 841215, at *5 (N.D.

Okla. Feb. 28, 2024); Henry Schein, Inc. v. Drea, 2022 WL 18584628, at *3 (S.D. Iowa

May 31, 2022) (refusing to deny motion to compel because respondent did not move to

quash or object to the place for compliance until after the motion to compel was filed).3

         Tellingly, Dr. Wang does not claim that producing the Withheld Documents

constitutes an undue burden or that the Withheld Documents are irrelevant. Nor could he.

See, e.g., Pictsweet Co. v. R.D. Offutt Co., 2020 WL 12968432, at *4 (M.D. Tenn. Apr. 23,

2020) (“Because the subpoenas . . . do not require personal appearance, and the requested

documents can be produced electronically or by other means, the geographical limitation

does not apply and there is no facial defect in the subpoenas.”). Dr. Wang previously

electronically produced over 12,000 documents in response to the subpoena, and he can do

the same again for the Withheld Documents.4



3
  None of the cases cited by Dr. Wang support a finding that his objection – made well
over a year after Dr. Wang responded to the subpoena, months after Dr. Wang first raised
his purported Fifth Amendment privilege, and a week after the Motion was filed – is
timely. See Halawani v. Wolfenbarger, 2008 WL 5188813, at *5 (E.D. Mich. Dec. 10,
2008) (granting motion to compel and finding objections overdue by one day were
untimely and waived); Zamorano v. Wayne State Univ., 2008 WL 597224, at *2 (E.D.
Mich. Mar. 3, 2008) (finding no waiver when objections were propounded “before the
time specified for compliance” and it was unclear when the non-party received the
subpoena); Am. Elec. Power Co., Inc. v. United States, 191 F.R.D. 132, 137 (S.D. Ohio
1999) (finding no waiver where the objections to a subpoena were delayed by a matter of
weeks); Alexander v. F.B.I., 186 F.R.D. 21, 34 (D.D.C. 1998) (finding waiver of
objections, other than overbreadth and burden, when objection overdue by two days).
4
  Even though Dr. Wang’s objection was untimely, Plaintiffs offered to provide an
alternative place of compliance for Dr. Wang’s production. Ex. 11. The court in Dyno
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         Dr. Wang’s request to refer the matter to the Western District of Texas is misplaced.

ECF 5 at PageID.267-268. As set forth in the Motion, this Court is the proper forum under

Rule 45, which states that motions to compel should be heard where compliance is

required. ECF 1 at PageID.2 (quoting Fed. R. Civ. P. 45(d)(2)(B)(i)); see, e.g., Atlas Indus.

Contractors LLC v. In2Gro Techs. LLC, 2020 WL 1815718, at *2 n.3 (S.D. Ohio Apr. 10,

2020) (recognizing that “the proper forum for [a] motion seeking compliance with a

subpoena” is “‘the court for the district where compliance is required’”).5

III.     CONCLUSION

         Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion.

DATED: December 9, 2024                 Respectfully submitted,

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Nobel, Inc. v. Johnson, 586 F. Supp. 3d 657, 662-63 (E.D. Ky. 2022), held that an
alternative place of compliance can cure a purported violation of the 100-mile rule.
Plaintiffs remain willing to modify the place for compliance for electronic production.
5
  Dr. Wang’s lone authority concerns a motion to quash under the inapplicable pre-2013
amendments to the Federal Rules of Civil Procedure. Compare United States ex rel. Pogue
v. Diabetes Treatment Ctrs. of Am., Inc., 444 F.3d 462, 468 (6th Cir. 2006) (determining
that a subpoena “must issue from the court for the district where the . . . production will be
made” and therefore determining that “[t]he power to quash or modify the subpoena
likewise resides with the issuing court”), with Fed R. Civ. P. 45(a)(2) (requiring that “[a]
subpoena must issue from the court where the action is pending”).

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                              CERTIFICATE OF SERVICE

          I hereby certify under penalty of perjury that on December 9, 2024, I authorized

 the electronic filing of the foregoing with the Clerk of the Court using the CM/ECF

 system which will send notification of such filing to the email addresses of counsel of

 record.

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